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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                                  AT LOUISVILLE


UNITED STATES OF AMERICA                                                          PLAINTIFF

vs.                                                                          3:19CR-8-DJH

BRANDON WOOD                                                                   DEFENDANT



                                          ORDER

      This matter is before the Court on a Motion for Leave to File a Sealed Motion. IT IS

ORDERED that the motion is GRANTED.

        April 24, 2019




                                                     David J. Hale, Judge
                                                  United States District Court
